FILED

32TH SUDICIAL DISTRICT COURT

OFERG COUNTY NM

8/27i2018 9.57 AM

KATINA WATSON

CLERK OF COURT

STATE OF NEW AMLENXICO Sven Michae! Sears

COUNTY OF OTERO

TWELFTH JUDICIAL DISTRICT COURT

BELLEVIEW VALLEY LAND CO. a New
Mexico corporation, and JOHN H. WILLIAMS
and ELLEN B. WELLEAMS, husband and wife.
Plaintiffs,
v. Cause No. CV-2010-01654
Judge James Wayion Counts
TAMMY SPRAGUE. Personal Representative
of the Estate of FRED VAN WINKLE. Deceased,
Defendant,
And

BRIAN VAN WINKLE and JUDITH A.
VAN WINKLE, husband and wife,

Defendants-in-Intervention

PETITIONER'S MOTION TO SUBSTITUTE TAMMY SPRAGL Ee,
BRIAN VAN WINKLE AND HALEY VAN WINKLE AS PETITIONERS

Petitioner, Tammy Sprague. as personal representative of the estate of Fred Van W itthig,
through her counsel of record, Law Office af Kyle H, Moberly. PoC. files this Motion to Substitute
Tammy Sprague, Brian Van Winkle and Hales Van Winkle as petitioners in this matter. fu support
of the Motion. Petitioner states as follows:

I. Petitioner assivned the estates statutery right to redeem the property atisstiec inthis
case to Fred Van Winkie’s heirs, namely. Tammy Sprague. Brian Van Winkle. and Hales Van

Winkiewho provided the tunds to redeem the property and are the real parties in interest. As proof

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sunt Halse Van Wibhle as Jetitioner, OM Mae Gets

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of that transfer, Petitioner attaches the Assignment of Right of Redemption as Exhibit A to this
Motion.
2 Pursuant to Rule 1-025(C) NMRA. Tammy Sprague. Brian Van Winkle. and Haley

Van Winkle are proper parties to this suit and should be substituted as petitioners in this matter in

the place of Tammy Sprague in her capacity as persona! epresentative of the estaic of Fred Van
Winkle.
3. No delay in this action will occur as a result of the substitution of lamnw Sprague.

Brian Van Winkle, and Hailey Van Winkle as petitioners.
4, Opposing counsel does not concur with this motion,
WHEREFORE, Petitioner requests that the Court substitute Tammy Sprague. in her
individual capacity. Brian Van Winkie, and Hales Van Winkle as petitioners in this matter.
Respeetfully submitted,
LAW OFFICE OF KYLE H.MOBERLY. P. C,
By: S Avie YW Moberh
Kude H. Moberly
State Bar # 245
Attorney for Petitioner
2466 S. Locust Ste. E

Las Cruces. NM 880i
(575) 541-1278

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fatiny Sprague, Brian Vax Werkle Tetlesien Valley Land Cos Spragug
turd Hafoy Var Winkle as Mentonces a

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CERTIFICATE OF SE

[ hereby certify: that on August 27, 2018. the loreguing Petitioners Metion to Substitute
Tammy Sprague, Brian Van Winkle and Haley Van Winkle as Petitioners was filed eleett ronically:
through the Odyssey File & Serve/Tyler Technology system. which caused Plaintifis’ counsel af
record to be served by electronic means.

isi Rule Ho Moberly
KYLE H. MOBERLY

Petittaner’s Motuon to Substitute
Tenimy Sprague, Brien Vay Winkle, Belleview Valles Card 4oc Spears
and Haley Van Winkle as Pertigners CNV OLASS

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«i:

ASSIGNMENT OF RIGHT OF REDEMPTION

Assignment by TAMMY SPRAGUE (“Assianar’)}. as personal representaiye ofthe estate
cf Pred Van Winkle, deceuscd. 9 TAMMY SPRAGUE, BRIAN VAN WINKLE and HALEY
VAN WINKLE, who are Fred Van Winkle’s heirs (colvetivels. the “Assignees”)

TIILARLOT PAP sGrrdy

WHEREAS. on April 20, 2015, Assignor filed a petition tor redemption (the “Petition”) of
the following described reul estate (the Property”) in Otero County, New Mexieo, withthe Twelfth
Judicial District Court of the State of New Mexico (the “Court’). in Cause Number D-1215-CV-
2110-01054, pursuant io NMSA 1978 Sectiun 39-5-18 (2007):

A tract of land in the Northeast Quarter {NE 4) of Section 24,7158
RYE, NMPM. Ofere County, New Mexico. described metes and
bounds as follows:

Beginning at the East One—Quarter comer (FE M4) of Section 24 and
going S 89°51'38" W along the East‘West centerline of said Section
24, a distance of 1525.75 feet; Thence N 00°37'16" W. a distance of
8358.92 feet: Thence § $9°50'08" E. a distance of IS31.80 fee:
Thence $ 6071311" E, a distance of 880.76 feet to the said place of
beginning.

Tyee > O4920 Wa SOrEice RIS 17/80

And

LOT 5, RANCIUS OF RIATA,OTEROCOUNTY , NEW MEXICO,
as shown on plat Book 65, Page 21, records of Otero County, New
Mexico,

And

ANY ADDITIONAL LAND WITHIN THE RANCH’S OF RIATA
LESS LOTS 1, 2.3.4, 6, 7, 8,9. 10,11. 12, 13, 14, 15, 16

including that certain well and all water rights appurtenant thereto
Which is located on the above-desenbed property:

and

Asstyniment of Saitulory Right of Redemption
from Estate of Fred Vas Winkte tn Tammy Sprague.
Brian Van Winkle snd Haley Van Winkle Pb Ales 2 Shan CLIENT #8 Se aed 782 ED

Exhibit A

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WHEREAS, Assignor’s right (a redeem the Property arose thom the judicial sale of the
Property on July 8. 20 t4. pursuaat te che Final Judement Foreciosin i Plains” Judgment bi jen that
the Court entered an May 22, 2014:

WHEREAS, on April 22. 2015, Assignor deposited the sum af'$73,200.94 inte the Court's
registry to redeem the Property (the “Funds” ):

USOT PIPsVIaY-d

TOIL

WHEREAS. Asstgnees provided the Funds to Assignor:

WHEREAS. since Assignees are the rea! parties in interest, they have requested thal Assianor
ussign to them the estate's statutory right pursuant ie NMSA 1978 Section 39-5-18 (2007), fo redeem
the Property, which Assignor is willing to do.

NOW, THEREFORE, Assiznor hereby assigns the estate's shuatery raht pursuant to NMSA
1978 Section 39-35-18 (20073. to redeem the Property.

Assignor also hereby ussigas to Assignees all of the esiate’s s right, title and interest jn and to
the Funds.

Assignor also hereby assigns to Assignees all of the estate's rizht. tithe and interest in and to
any claims that the estaie may have against the purchaser of the P roperty for any waste or damage
to the Property that has occurred since the purchaser purchased the Property at the judicial sale,

SUHHO > OLIIOWASOTRETO BE IZ FO

Assignor shall fully cooperate with Assignees in the execution and delin ers of such other and
further documents as may be reasonably required by Assignees to enforce the statutury ruht of
redemption hereby assigned to them.

Pe ref : Cee
MMY SPRAGU UF. as personal répresentative of
the Estate of Fred Van Winkle, deceased

Assigmmant of Sransory Rigin of Redempilon
from Estate of Fred Van Winkle mo Taminy Sprague.
Brian Van Winkle and Hales Van Winkle Stay = EN TION ana cat eM NYS

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STATE OF NEW MEXICO
COUNTY OF DONA ANA.

This instrument was acknowledged before me on August (7 4? f 2018 by Tammy Sprague
us personal representative of the esiate of Fred Van Winkle, deceased.

OFFICIAL SEAL
KYLE H, MOBEBLY
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Assignment of Ststutury Right af Redemption
trom Estate of Fred Van Winkle to Tannay Sprague,
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